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                                                                                                                 18-cv-2921
                                                                                                                 18-cv-5025
                                                                                                                  Furman, J.

                                   United States Court of Appeals
                                                             FOR THE
                                                     SECOND CIRCUIT
                                                     _________________

             At a stated term of the United States Court of Appeals for the Second Circuit,
       held at the Thurgood Marshall United States Courthouse, 40 Foley Square, in the
       City of New York, on the 9th day of October, two thousand eighteen.

       Present:
                         John M. Walker, Jr.,                                           USDC SDNY
                         Raymond J. Lohier, Jr.,                                        DOCUMENT
                               Circuit Judges,                                          ELECTRONICALLY FILED
                         William H. Pauley III,                                        DOC #: _________________
                                                                                                    Oct. 9, 2018
                                                                                        DATE FILED: _____________
                               District Judge.

       In Re: United States Department of Commerce, Wilbur L. Ross,
       in his official capacity as Secretary of Commerce, United States
       Census Bureau, an agency within the United States Department
       of Commerce, Ron S. Jarmin, in his capacity as the Director of
       the U.S. Census Bureau,                                                                   18-2856
                                                                                                 18-2857
                                           Petitioners.


       Petitioners have filed petitions for a writ of mandamus to stay or preclude the deposition of
       Commerce Secretary Wilbur L. Ross in two consolidated district court cases. Upon due
       consideration, it is hereby ORDERED that the mandamus petitions are DENIED. The stay of the
       District Court’s order compelling the deposition of Commerce Secretary Wilbur L. Ross will
       remain in place for 48 hours to allow the parties to seek relief from the Supreme Court and will
       thereafter be LIFTED.1

       Mandamus is “a drastic and extraordinary remedy reserved for really extraordinary causes.”
       Balintulo v. Daimler AG, 727 F.3d 174, 186 (2d Cir. 2013) (quoting Cheney v. U.S. Dist. Ct. for
       D.C., 542 U.S. 367, 380 (2004)). “We issue the writ only in ‘exceptional circumstances
       amounting to a judicial usurpation of power or a clear abuse of discretion.’” In re Roman
       Catholic Diocese of Albany, N.Y., Inc., 745 F.3d 30, 35 (2d Cir. 2014) (quoting Cheney, 542 U.S.
       at 380). To obtain mandamus relief, a petitioner must show that (1) it has “no other adequate
       means to attain the relief [it] desires,” (2) “the writ is appropriate under the circumstances,” and


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         Judge William H. Pauley III, of the United States District Court for the Southern District of New York, sitting by
       designation.
       1
         A prior panel of this Court previously denied the petition relating to the deposition of Acting Assistant Attorney
       General John Gore. See September 25, 2018 Order in Nos. 18-2652 & 18-2659.

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(3) the “right to issuance of the writ is clear and indisputable.” Id. (quoting Cheney, 542 U.S. at
380–81).

“[W]e have expressed reluctance to issue writs of mandamus to overturn discovery rulings,” and
will do so only “when a discovery question is of extraordinary significance or there is an extreme
need for reversal of the district court’s mandate before the case goes to judgment.” In re City of
New York, 607 F.3d 923, 939 (2d Cir. 2010) (internal quotation marks omitted). “Because the
writ of mandamus is such an extraordinary remedy, our analysis of whether the petitioning party
has a clear and indisputable right to the writ is necessarily more deferential to the district court
than our review on direct appeal.” Linde v. Arab Bank, PLC, 706 F.3d 92, 108–09 (2d Cir. 2013)
(internal quotation marks omitted).

This Court has held that a “high-ranking government official should not—absent exceptional
circumstances—be deposed or called to testify regarding the reasons for taking official action,
including the manner and extent of his study of the record and his consultation with subordinates.”
Lederman v. New York City Dep’t of Parks & Recreation, 731 F.3d 199, 203 (2d Cir. 2013). This
is so because “high-ranking government officials . . . have greater duties and time constraints than
other witnesses.” Id. (internal quotation marks omitted). But we have acknowledged that such
depositions, though generally disfavored, may be appropriate if the official has “unique first-hand
knowledge related to the litigated claims,” or “the necessary information cannot be obtained
through other, less burdensome or intrusive means.” Id.

The District Court’s order requiring the deposition of Secretary Ross does not amount to “a judicial
usurpation of power or a clear abuse of discretion.” In re Roman Catholic Diocese of Albany,
N.Y., Inc., 745 F.3d at 35 (quoting Cheney, 542 U.S. at 380). We find that the District Court did
not clearly abuse its discretion in authorizing extra-record discovery based on a preliminary
showing of “bad faith or improper behavior.” The District Court, which is intimately familiar
with the voluminous record, applied controlling case law and made detailed factual findings
supporting its conclusion that Secretary Ross likely possesses unique firsthand knowledge central
to the Plaintiffs’ claims. As the District Court noted, deposition testimony by three of Secretary
Ross’s aides indicated that only the Secretary himself would be able to answer the Plaintiffs’
questions. We also find no clear abuse of discretion in ordering Secretary Ross’s deposition
rather than an alternative, such as interrogatories or a deposition under Fed. R. Civ. P. 30(b)(6).
See In re Subpoena Issued to Dennis Friedman, 350 F.3d 65, 69 n.2 (2d Cir. 2003) (“district courts
have . . . typically treated oral depositions as a means of obtaining discoverable information that
is preferable to written interrogatories”).

Accordingly, the request for a writ of mandamus to quash the order requiring the deposition of
Secretary Ross is denied. However, a stay of the deposition will remain in place for 48 hours to
allow either party to seek relief from the Supreme Court.

                                              FOR THE COURT:
                                              Catherine O’Hagan Wolfe, Clerk of Court




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